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                        EXHIBIT A
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                    IN THE UNITED STATES DISTRICT COURT FOR                 T~-.r· f~ f~ /r~1
                               EASTERN DISTRICT OF VIRGINIA                   /UL JlJN 2~OI~ [lj)
                                        Alexandria Division                   I C'_~L·,:i~,~:.
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IN THE MATTER OF THE SEARCH OF                        )     Crim. No.: 1: 1OSW 3...20
INFORMATION ASSOCIATED WITH                           )
MEGAUPLOAD.COM THAT IS STORED                         )     UNDER SEAL
AT THE PREMISES CONTROLLED BY                         )
CARPATHIA HOSTING                                     )


              APPLICATION AND AFFIDAVIT FOR A SEARCH WARRANT

         I, William Engel, being duly sworn, hereby depose and state as follows:

I.      INTRODUCTION

        1.     I make this affidavit in support of an application for a search warrant for

information associated with certain accounts that is stored at premises owned, maintained,

controlled, or operated by Carpathia Hosting (Carpathia), a web hosting company headquartered

at 43480 Yukon Drive, Suite 200, Ashburn, Virginia 20147. The information to be searched is

described in the following paragraphs and in Attachment A. This affidavit is made in support of

an application for a search warrant under 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A)

to require Carpathia to disclose to the government records, including content, and other

information in its possession, pertaining to the computer files identified in Attachment A.

       2.      I am a Special Agent (SA) with United States Immigration and Customs

Enforcement (ICE) withi"n the Department of Homeland Security, formerly, the United States

Customs Service. I am currently assigned to the National Intellectual Property Rights

Coordination Center in Arlington, Virginia, where my duties include the investigation of crimes

involving the infringement of intellectual property, including violations of Title 18, United States

Code, Section 2319 and Title 17, United States Code, Section 506. I have been employed as a
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Special Agent by ICE for seven years since the establishment of ICE on March 1, 2003. I was

previously employed as a Special Agent with the United States Customs Service for

approximately one year prior to the inception ofICE. I attended and graduated from the

Criminal Investigator Training Program and Customs Basic Enforcement Program at the Federal

Law Enforcement Training Center in Glynco, Georgia. Prior to my present employment, I was

an Inspector for the Bureau ofAlcohol, Tobacco and Firearms (ATF) in Milwaukee, Wisconsin.

Previous to my employment with the ATF, I was an Investigator Specialist for the City of

Chicago Inspector General's Office for three years. I have directed and been involved in

numerous investigations involving the use of computers and the Internet to commit violations of

fraud, intrusion and intellectual property laws and have received training in this area as welL I

have received training and gained experience in interviewing and interrogation techniques, arrest

procedures, search warrant applications, the execution of searches and seizures, intellectual

property crimes, computer-based crimes, computer evidence identification, seizure and

processing, and various other criminal laws and procedures. I have personally participated in the

execution of search warrants involving the search and seizure of computer equipment and

Internet-based email accounts.

       3.      I make this affidavit in connection with an investigation into the activities of

Matthew Smith (SMITH), Justin DeDemko (DEDEMKO), Hana Beshara (BESHARA), Joshua

Evans (EVANS) and others who are believed to operate a web site known as

www.Ninjavideo.net. (the NinjaVideo site) which is being used to reproduce and distribute

infringing copies of copyrighted television programs, software and movies, some of which are

still in theaters. As provided below, there is probable cause to believe that SMITH, DEDEMKO,

BESHARA, and EVANS conspired together and with others, in violation of Title 18, United

States Code, Section 371, to reproduce and distribute copyrighted audiovisual works, in violation
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of federal criminal copyright laws, namely Title 18, United States Code, Section 2319 and Title

17, United States Code, Section 506 (Criminal copyright infringement) and that they aided and

abetted criminal copyright infringement, in violation of Title 18, United States Code, Section 2.

The facts in this affidavit come from my personal observations, my training and experience, and

infonnation obtained from other agents and witnesses.

        4.     This affidavit is intended to show merely that there is sufficient probable cause for

the requested warrant and does not set forth all of my knowledge about this matter.

II.     EXPLANATION OF TECHNICAL TERMS USED BELOW

        5.     Through the course of the ICE investigation, your affiant has learned that

Carpathia operates an Internet hosting business which leases computer servers, data storage and

Internet connectivity to paying customers. One of its service offerings is that of self-managed,

dedicated servers, by which the customer remotely controls and administers servers located in

Carpathia's data center facilities. A dedicated server is a computer server that is used only by a

single customer. Based upon my training and experience, I am familiar with the following tenns:

               a.      The Internet: The Internet is a collection of computers and computer

networks, which are connected to one another via high-speed data links and telephone lines for

the purpose of sharing infonnation. A network is a series of devices, including computers and

telecommunication devices, connected by communication channels.

               b.      Internet Protocol Address: An Internet Protocol address (IP address) is a

unique numeric address used by computers on the Internet. An IP Address is a series of four

numbers, each in the range 0-255, separated by periods ~, 121.56.97.178). Every computer

attached to the Internet must be assigned an IP address so that Internet traffic sent from and

directed to that computer may be directed properly from its source to its destination. An IP

address acts much like a home or business street address -- it enables computers connected to the
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Internet to properly route traffic to each other. The assignment of IP addresses to computers

connected to the Internet is controlled by ISPs.

                c.       Internet Service Provider ("ISP"): An Internet Service Provider ("ISP") is

a service that provides Internet connectivity to its subscribers. In addition to providing access to

the Internet via telephone or other telecommunication lines, ISPs may also provide Internet email

accounts and other services unique to each particular ISP such as data and file storage, video

streaming, and web site hosting. ISPs maintain records pertaining to the individuals or

companies that have subscriber accounts with it. Those records may include identifying and

billing information, account access information in the form of log files, electronic mail ("e­

mail") transaction information, account application information, customer service information

and other information both in electronic format and in written record format.

               d.        Internet Hosting Service: An Internet Hosting Service is an ISP that

houses or operates computer servers that are connected to the Internet, allowing organizations

and individuals to serve content on the Internet or store data at the hosting service. There are

various levels and various kinds of services offered. The most generic and powerful kind of

Internet hosting provides a server where the client can run anything it wants, including web

servers and other servers, and an Internet connection with good upstream bandwidth. Full­

featured hosting services include: dedicated hosting service, where the hosting service owns and

manages the machine; virtual private server, which appears as a dedicated server to the outside

world but only uses a single physical server operated by the host; and collocation facilities,

which provide just the Internet connection and climate control, but let the client do his own

system administration.

               e.        URL address: A Uniform Resource Locator ("URL") address is a series of

characters (~, letters, numbers, or other characters) that correspond with a particular IP address
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and a specific "page" of information located at that address. For example, the URL for the main

page at CNN's website is www.cnn.com. and that URL - along with URLs for different web

pages at the same website (~, www.cnn.com/story1, www.cnn.com/story2) - correspond with

specific IP addresses.

III.    RELEVANT STATUTES

        Criminal Copyright Infringement

        6.      Title 17, United States Code, Sections 506(a), (b) provides, in pertinent part:

                (a) Criminal Infringement-(1) In general-Any person who willfully infringes a
                copyright shall be punished as provided under section 2319 of title 18, if the
                infringement was committed­

                    (A) for purposes of commercial advantage or private financial gain;

                   (B) by the reproduction or distribution, including by electronic means, during
                   any 180-day period, of 1 or more copies or phonorecords of 1 or more
                   copyrighted works, which have a total retail value of more than $1,000; or

                   (C) by the distribution of a work being prepared for commercial distribution,
                   by making it available on a computer network accessible to members of the
                   public, if such person knew or should have known that the work was intended
                   for commercial distribution.

               (b) Forfeiture and Destruction - When any person is convicted of any
               violation of subsection (a), the court in its judgment of conviction shall, in
               addition to the penalty therein prescribed, order the forfeiture and destruction or
               other disposition of all infringing copies or phonorecords and all implements,
               devices, or equipment used in the manufacture of such infringing copies or
               phonorecords.

       Penalties For Criminal Copyright Infringement

       7.      The penalties for violations of Title 17, United States Code, Sections 506, are set

forth in Title 18, United States Code, Sections 2319(b ), (c), (d), which provide in pertinent part:

               (b) Any person who commits an offense under section 506(a)(1)(A) of title 17

                   (1) shall be imprisoned not more than 5 years, or fined in the amount set forth
                   in this title, or both, if the offense consists of the reproduction or distribution,
                   including by electronic means, during any 180-day period, of at least 10
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                   copies or phonorecords, of 1 or more copyrighted works, which have a total
                   retail value of more than $2,500 ...

               (c) Any person who commits an offense under section 506(a)(l)(B) of title 17,
               United States Code

                   (1) shall be imprisoned not more than 3 years, or fined in the amount set forth
                   in this title, or both, if the offense consists of the reproduction or distribution
                   of 10 or more copies or phonorecords of 1 or more copyrighted works, which
                   have a total retail value of $2,500 or more;


                   (3) shall be imprisoned not more than 1 year, or fined in the amount set forth
                   in this title, or both, if the offense consists of the reproduction or distribution
                   of 1 or more copies or phonorecords of 1 or more copyrighted works, which
                   have a total retail value of more than $1,000.

               (d) Any person who commits an offense under section 506(a)(l)(C) of title 17,
               United States Code­

                   (1) shall be imprisoned not more than 3 years, fined under this title, or both;

                   (2) shall be imprisoned not more than 5 years, fined under this title, or both, if
                   the offense was committed for purposes of commercial advantage or private
                   financial gain ...

IV.    SUMMARY OF INVESTIGATION AND PROBABLE CAUSE

       8.      In the summer of 2009, your affiant, acting on a referral from the Motion Picture

Association ofAmerica (MPAA), initiated an investigation of the NinjaVideo site, which was

believed to be reproducing and distributing over the Internet unauthorized copies ofMPAA

member motion picture studios' copyrighted works. MPAA representatives advised that none of

its member studios authorizes its movies for distribution through the NinjaVideo site.

                                    THE NINJAVIDEO SITE

       9.      Initial investigation of the NinjaVideo site revealed a publicly accessible web site

that allowed visitors to watch and download popular, television shows and movies, many of

which were recognized as still playing in cinemas. Throughout the ICE investigation, your

affiant has observed links to more than 200 different movies and more than 300 different
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television programs on the NinjaVideo site. These links are typically updated as new movies are

released in cinemas and as new television programs are broadcast. In addition to distributing

copyrighted content, the NinjaVideo site displays commercial advertisements, which sometimes

fill the entire browser window, on various portions of the web site.

        10.    Many of the movies listed on the NinjaVideo site bear the indicia of the Internet

copyright piracy scene, known as the "warez" scene. For example, some movies contain the

term "CAM" in the file name, which indicates that the movie was recorded with a video camera

while it was playing in a theater. Other movies contain the term "SCR" in the file name, which

is a term commonly used in the warez scene to identify "screener" copies of movies that are

typically delivered by the studio to movie critics for review. In addition, most movies contain

the name of the organized Internet piracy group that was responsible for obtaining the

unauthorized copy and releasing it onto the Internet. For example, a link to the movie "Iron Man

2" on NinjaVideo was listed as "Iron Man 2 (2010) CAM XViD - TDV Release (DivX

Mirror).avi". This file name indicates that a group known as "TDV" was responsible for initially

distributing onto the Internet a "cammed" copy of the movie Iron Man 2 in XViD format.

       11.     Using an undercover computer to visit the NinjaVideo site, ICE agents have

observed and engaged in the process of viewing and downloading content distributed by the site.

Your affiant has also watched and downloaded several movies that were still playing in cinemas.

Many of the movies and television shows are in a format known as DivX. To play the DivX

formatted content, a user first needs to install the free, publicly available DivX software and web

browser plug-in. The user only needs to install this plug-in once on the web browser being used.

The visitor then must open a small computer program called an "applet" on the NinjaVideo site

known as the "NinjaVideo Helper." Once the applet is opened and running in the visitor's

browser window, the visitor may click on any movie or television title. The purpose of the applet
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appears to be to prevent other web sites from adopting and playing content hosted by the

NinjaVideo site's members and operators (a process known as leeching) which could potentially

take advertising revenue away from the NinjaVideo site. Other movies are in Xvid format, and

may be downloaded directly by users without being watched in the browser window.

         12.     Once a visitor to the NinjaVideo site opens the NinjaVideo Helper applet, he/she

is able to watch movies and television shows within the web browser. When the user clicks on

the movie title, an advertisement is typically displayed, after which the movie begins playing in

the browser. At the end of a movie, the user can save the entire movie to a computer storage

device. This is a process that ICE agents have performed on multiple occasions, including those

set forth below:



12116/2009 Ninja Assassin            11125/2009   0311612010 http://www.ninjavideo.net/video/49303 AVI
12117/2009 Astro Boy                 10/23/2009   03/16/2010 http://www.ninjavideo.net/video/46128 AVI
12118/2009 Transfonners 2 Revenge 06/24/2009      11130/2009 http://www.ninjavideo.net/video/28806 AVI
           of the Fallen
12/1812009 Four Christmases          1112612008   11124/2009 http://www.ninjavideo.net/video/46153 AVI
12130/2009 Alvin and the             12/23/2009   03/30/2010 http://www.ninjavideo.net/video/54062 AVI
           Chipmunks 2
12/30/2009 Invictus (Pt 1)           1211112009   05118/2010 http://www.ninjavideo.net/video/53751 AVI
12130/2009 Invictus (Pt 2)           1211112009   05/18/2010 http://www.ninjavideo.net/video/53753 AVI
12130/2009 Sherlock Holmes           12/25/2009   03/30/2010 http://www.ninjavideo.net/video/54040 AVI
01104/2010 Avatar (Pt 1)             12/18/2009   04/22/2010 http://www.ninjavideo.net/video/52811 DivX
01104/2010 Avatar (Pt 2)             12/18/2009   04/22/2010 http://www.ninjavideo.net/video/52812 DivX
01/06/2010 Up In The Air             11113/2009   03109/2010 http://www.ninjavideo.net/video/54192 AVI
01112/2010 Youth In Revolt           01108/2010   06115/2010 http://www.ninjavideo.net/video/54785 AVI
01112/2010 Daybreakers               0110812010   05/1112010 http://www.ninjavideo.net/video/54844 DivX
01112/2010 The Hangover              06/05/2009   12/15/2009 http://www.ninjavideo.net/video/27282 DivX
01113/2010 Couples Retreat (Pt 1)    10/09/2009   02/09/2010 http://www.ninjavideo.net/video/53 822 AVI
01113/2010 Couples Retreat (Pt 2)    10109/2009   02/09/2010 http://www.ninjavideo.net/video/53823 AVI
01114/2010 Fantastic Mr Fox          1111312009   03123/2010 http://www.ninjavideo.net/video/52518 DivX
01114/2010 Brothers                  12/04/2009   03/23/2010 http://www.ninjavideo.net/video/54066 AVI
01114/2010 The Stepfather            10/16/2009   02/09/2010 http://www.ninjavideo.net/video/49062 AVI
01114/2010 It's Complicated (Pt 1)   12123/2009   04/27/2010 http://www.ninjavideo.net/video/54635 DivX
01114/2010 It's Complicated (Pt 2)   12/23/2009   04/27/2010 http://www.ninjavideo.net/video/54636 DivX
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01/2012010 The Princess and the     12111/2009   03116/2010 http://www.ninjavideo.net/video/52411 DivX
           Frog
01120/2010 Sherlock Holmes (Pt 1)   12/25/2009   03/30/2010 http;//www.ninjavideo.net/video/54039 DivX
0112012010 Sherlock Holmes (Pt 2)   12/25/2009   03/30/2010 http;//www.ninjavideo.net/video/54040 DivX
0112112010 The Lovely Bones (Pt 1) 12111/2009    02/09/2010 http://www.ninjavideo.net/video/54146 DivX
01/2112010 The Lovely Bones (Pt 2) 12/1112009    02/09/2010 http://www.ninjavideo.net/video/54147 DivX
0112112010 2012 (Pt I)              11113/2009   03/02/2010 http://www.ninjavideo.net/video/48061 DivX
0112112010 2012 (Pt 2)              11/13/2009   03/02/2010 http;//www.ninjavideo.net/video/48062 DivX
01/22/2010 The Men Who Stare at     11/06/2009   03/23/2010 http://www.ninjavideo.net/video/55014 AVI
           Goats CPt 1)
01/22/2010 The Men Who Stare at     11/06/2009   03/23/2010 http://www.ninjavideo.net/video/55015 AVI
           Goats (Pt 2)
01127/2010 Legion                   01/22/2010   05111120 I 0 http://www.ninjavideo.net/video/55903 AVI
01127/2010 The Book of Eli          01115/2010   06/15/2010 http://www.ninjavideo.net/video/55773 DivX
02/26/2010 Shutter Island           02/19/2010   06/08/20 I 0 http://www.ninjavideo.net/video/58564 AVI
02/26/2010 Valentines Day           02/]212010   05/18/2010 http://www.ninjavideo.net/video/58206 AVI
02/26/2010 Valentines Day           0211212010   05/18/2010 http://www.ninjavideo.net/video/58204 DivX
02/26/2010 The Wolfinan             02112/2010   06/01/2010 http://www.ninjavideo.net/video/58268 AVI
02/26/2010 The Wolfinan             02112/2010   06/01/2010 http://www.ninjavideo.net/video/58267 DivX
03/08/2010 Alice in Wonderland      03/05/2010   06/0112010 http://www.ninjavideo.net/video/59615 AVI
           (Pt 1)
03/08/2010 Alice in Wonderland      03/05/2010   06/0112010 http://www.ninjavideo.net/video/59616 AVI
           (Pt2)
03/31/2010 How to Train Your        03/26/2010   Future     http://www.ninjavideo.net/video/61893 AVI
           Dragon
03/3112010 How to Train Your        03/26/2010   Future     http://www.ninjavideo.net/video/61892 DivX
           Dragon
03/31/2010 The Bounty Hunter        03/1912010   Future     http://www.ninjavideo.net/video/61094 AVI
03/31/2010 The Bounty Hunter        03/19/2010   Future     http://www.ninjavideo.net/video/61095 AVI
03/3112010 Green Zone               0311212010   Future     http://www.ninjavideo.net/video/60165 AVI
03131/2010 Green Zone (Pt 1)        03/1212010   Future     http://www.ninjavideo.net/video/60 164 DivX
03/3112010 Green Zone (Pt 2)        03112/2010   Future     http://www.ninjavideo.netlvideo/60758 DivX
03/3112010 She's Out of My League 03112/2010     Future     http://www.ninjavideo.net/video/60873 DivX
           (Pt 1)
03/3112010 She's Out of My League 03/12/2010     Future     http://www.ninjavideo.net/video/60874 DivX
           (Pt2)
03/3112010 Repo Men               03/19/2010     Future     http://www.ninjavideo.net/video/61 091 DivX
03/3112010 RepoMen                  03119/2010   Future     http://www.ninjavideo.net/video/61093 DivX
04/30/2010 The Back-Up Plan         0412312010   Future     http://www.ninjavideo.net/video/64459 DivX
04/3012010 The Back-Up Plan         0412312010   Future     http://www.ninjavideo.net/video/64460 AVI
05/04/2010 Iron Man 2               05/07/2010   Future     http://www.ninjavideo.net/video/65843 DivX
05104/2010 Iron Man 2               05/0712010   Future     http://www.ninjavideo.net/video/65844 AVI
05/0712010 A Nightmare on Elm       04/30/2010   Future     http://www.ninjavideo.net/video/65850 DivX
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              Street
05107/2010 A Nightmare on Elm       04/30/2010      Future    http://www.ninjavideo.netlvideo/65851 AVI
            Street
0611112010 Shrek Forever After     05/2112010      Future     http://www.ninjavideo.netlvideo/67813 AVI
061I 1I2010 Shrek Forever After    05/2112010      Future     http://www.ninjavideo.netlvideo/67778 DivX
0611112010 Get Him to the Greek    06/04/2010      Future     http://www.ninjavideo.netlvideo/69081 DivX
061I 112010 Prince of Persia The   05128/2010      Future     http://www.ninjavideo.netlvideo/68003 AVI
            Sands of Time
061I I12010 Prince of Persia The   05/28/2010      Future     http://www.ninjavideo.netlvideo/68005 AVI
            Sands ofTime
06/1112010 Prince of Persia The    05/28/2010      Future     http://www.ninjavideo.netlvideo/68002 DivX
            Sands of Time
06/11/2010 Prince of Persia The    05/28/2010      Future     http://www.ninjavideo.netlvideo/68004 DivX
            Sands of Time
061I 112010 Letters to Juliet      05114/2010      Future     http://www.ninjavideo.netlvideo/68269 AVI
06/1112010 Letters to Juliet       05114/2010      Future     http://www.ninjavideo.netlvideo{68268 DivX
0611112010 Robin Hood              0511412010      Future     http://www.ninjavideo.netlvideo/67038 DivX
0611112010 Robin Hood              05/14/2010      Future     http://www.ninjavideo.netlvideo/67040 DivX
0611612010 Hot Tub Time Machine    03/2612010      Future     http://www.ninjavideo.netlvideo/69870 AVI
06116/2010 Hot Tub Time Machine    0312612010      Future     http://www.ninjavideo.netlvideo/69869 DivX
06116/2010 The Karate Kid          061 II 120 10   Future     http://www.ninjavideo.netlvideo/6983 7 AVI
06/16/2010 The Karate Kid          0611112010      Future     http://www.ninjavideo.netlvideo/69839 AVI
06116/2010 The Karate Kid          0611112010      Future     http://www.ninjavideo.netlvideo/69836 DivX
06/16/2010 The Karate Kid          0611112010      Future     http://www.ninjavideo.netlvideo/69838 DivX
0611612010 Sex and the City 2      05/27/2010      Future     http;lIwww.ninjavideo.netivideo/69329 DivX
06116/2010 Sex and the City 2      05/2712010      Future     http://www.ninjavideo.netlvideo/69493 DivX
0611612010 Splice                  06/0412010      Future     http://www.ninjavideo.netlvideo/69533 AVI
0611612010 Splice                  06/04/2010      Future     http://www.ninjavideo.netlvideo/69532 DivX
0611612010 TheA-Team               0611112010      Future     http://www.ninjavideo.netlvideo/69404 AVI
06116/2010 TheA-Team               0611112010      Future     http://www.ninjavideo.netivideo/69406 AVI
06/16/2010 TheA-Team               0611112010      Future     http://www.ninjavideo.netivideo/69403 DivX
06/16/2010 TheA-Team               0611112010      Future     http://www.ninjavideo.netlvideo/69405 DivX

               LOCATION OF INFORMATION ON CARPATHIA COMPUTERS

        13.       Using publicly available software that can detect the Internet Protocol addresses

of data incoming to the undercover computer, your affiant was able to determine that the movies

listed on the table above were being downloaded from computers assigned IP addresses held by

three commercial Internet hosting services: Carpathia Hosting, headquartered in Ashburn,
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Virginia, which is located in the Eastern District of Virginia; WZ Communications Inc., which is

linked to the Netherlands-based host Webazilla, which also operates a datacenter in Dallas,

Texas; and, NoZone Inc. in Chicago, Illinois. Each of these Internet hosting service companies

leases high-speed computer server space and Internet connectivity to the public.

        14.    Information provided by Carpathia revealed that the unauthorized copies of

movies downloaded from Carpathia's facilities are stored on dedicated computer servers that

Carpathia leases to a file and media storage service company known as MegaUpload Ltd., which

operates the MegaUpload.com site and business. MegaUpload Ltd., which is headquartered in

Hong Kong, allows account holders to upload and store files of various sizes, depending on

whether the user has a free or fee-based "premium" account. MegaUpload.com has become a

popular service for the storage of infringing copies of copyrighted movies and television shows.

       15.     Several other movies available to view on-line (but not download) on the site are

in Adobe Flash format. The Flash formatted movies do not appear to be hosted by NinjaVideo,

but are instead hosted by a web site known as Megavideo.com, which is affiliated with

MegaUpload.com and also operated by MegaUpload Ltd. The Megavideo.com hosted movies

are "framed" in a user's browser by the NinjaVideo site so that they appear to be playing on the

NinjaVideo site.

                          THE NINJAVIDEO SITE OPERATORS

       16.    A search of publicly available domain name registration records revealed that the

Ninjavideo.net domain was registered on or about January 22, 2008. The registrant of

Ninjavideo.net concealed his name, addresses and contact information from publicly available

WHOIS databases through the use of a domain registration privacy service called WhoisGuard,

which is operated by NameCheap. Pursuant to legal process, NameCheap provided business

records associated with Ninjavideo.net, which identified SMITH as the registrant and account
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holder. NameCheap's records identify deadlne@gmail.com as the email address associated with

SMITH's Ninjavideo.net domain name account.

        17.     A search of publicly available WHOIS records revealed that the NinjaVideo web

site is hosted on a computer assigned the IP address 93.174.93.198, which is owned by a

Netherlands-based company known as Ecatel Ltd. Ecatel is known as a web hosting company,

and its web site contains the statement "High quality Dedicated servers & Co-location services in

Amsterdam, Alphen aid Rijn, The Hague and Stockholm." A review of PayPal's account records

for subject SMITH reveal regular payments to Ecatel from January 19, 2008 to May 15, 2010.

        18.    Observation of the NinjaVideo site by your affiant revealed that the site uses a

service offered by Google called "Google Analytics." According to Google's product literature,

the Google Analytics service provides web site operators with data on the usage of their web

sites, including web site traffic, how visitors to the site navigate within or away from it, and the

success of advertisements on the site. Google Analytics customer records for the NinjaVideo site

revealed that a Google Analytics account was created for the NinjaVideo site on or about March

2,2008. The records further revealed three users and their email addresses associated with the

Google Analytics account: "Matthew Smith", using the email addressdeadlne@gmail.com;

"Justin Dedemko", using the email accountjustin.dedemko@gmail.com; and "Hana Beshara",

using the email accountpharaOhess@gmail.com.

       19.     In addition to the unauthorized copies of movies and television shows available

through the NinjaVideo site, the site has a section known as the forum board, which contains

messages from the NinjaVideo site operators and provides a forum for NinjaVideo users to

exchange messages with the site's operators and with other users. A post in the forum board

dated December 30, 2009 by an Administrator named "Phara" described the roles of different

members of the NinjaVideo staff. That post identifies the following user aliases as
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"Administrators - Staff": PHARA, DEADINE, AFRIKA, TIK, WADSWERTH, HTRDFRK­

Security Admin, STEVEH - Mainsite Admin, RICKYGOI - Mainsite Admin, and CREE8

Mainsite Admin. The post also identifies staff members who are "Moderators       Staff", "Gods of

the Game - Staff," "Legends     Staff", and "Gods of the Up   Staff". The terms "Up" and

Uploader" refer to the uploading of pirated content onto computer servers that can then be

accessed by sites, such as the NinjaVideo site.

        20.    Evidence collected from a variety of sources during the course of the ICE

investigation has revealed that BESHARA uses the aliases "PHARA" and "PHARAOHESS",

SMITH uses the alias "DEADlNE", DEDEMKO uses the alias "AFRIKA" and EVANS uses

the alias "WADSWERTH". For example,

               a. As described above and below, SMITH frequently uses alias "deadlne" on

various services, including the NameCheap account for the NinjaVideo.net domain, the Google

Analytics account for the NinjaVideo site, his PayPal account used for the site and his Gmail

account.

               b. PayPal records for accounts for DEDEMKO show his use of email addresses

justin.dedemko@gmail.com, afr 1ka@ymail.com and jstndedemk03@gmail.com.

               c. PayPal records for EVANS identify his primary email address as

joshev@yahoo.com. Subscriber records provided by Yahoo! for that email account identify

wadswerth@gmail.com as a separate email account used by EVANS.

               d. PayPal records for BESHARA identify her primary email address as

phara@ninjavideo.net. In addition, Google's Google Analytics PayPal records for the NinjaVideo

site identify BESHARA's Gmail account as pharaOhess@gmail.com.

       21.     On or about February 22, 2010, a United States Magistrate Judge in the Eastern

District of Virginia issued a search warrant for information, including message content,
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associated with the deadlne@gmail.com email account, registered to SMITH. Within SMITH's

email account was an email from SMITH to what appears to be a tax preparer detailing income

and deductions from the operation of the NinjaVideo site from January 1,2009 to March 31,

2009. Among other expenses, SMITH listed payments of $20,734.34 to BESHARA and

$9,375.00 to DEDEMKO during that three month period. He also listed income <:>f$33,439.52

from AdBrite, $17,706.57 from Widget and $7,055.88 from PayPal donations. AdBrite and

Mpire Corporation (which operated Widget) are advertising networks.

        22.    Also contained within SMITH's deadlne@gmail.com email account were emails

between subjects SMITH, BESHARA, and DEDEMKO regarding the operation of the

NinjaVideo site. For example, on or about May 24, 2008, BESHARA sent an email entitled

"final" from the email address hana beshara@yahoo.com to DEDEMKO at the email address

iustin.dedemko@gmail.com and SMITH at dead 1ne@gmai1.com. Attached to the email was a

Microsoft Word document entitled "StageNinjareformat-l" which contained a draft business plan

for an Internet video web site.

       23.     SMITH's email account also contained notices from copyright owners and others

that content on the NinjaVideo site infringed copyrights. On May 10, 2008, he received a notice

from the NinjaVideo's domain name registrar that it had received a Digital Millennium

Copyright Act (DMCA) notice of infringing material on the site. SMITH's email account also

contained a copy of a December 4,2008 letter from Starz Media LLC to NinjaVideo's domain

name registrar demanding that the NinjaVideo site cease and desist from continuing to facilitate

the download of the movie title "Righteous Kill."

       24.     Google's records for SMITH's deadlne@gmail.com account revealed that

SMITH created a "Google Apps" account for the NinjaVideo.net domain name on or about

September 19, 2008. Google Apps is a Google service that, among other things, allows
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subscribers to use a domain name that they own in conjunction with Google's Gmail web-based

email service. For example, if a person named "John" owned the domain name

"Loremipsum.com", he could subscribe to the Google Apps service and use Google's Gmail

service to send and receive email from and to the email account ..john@loremipsum.com...

Google's records showed that, as ofApril 12, 2010, 22 of the available sub-Google Apps

accounts for NinjaVideo.net had been created. Included among these 22 sub-accounts were

email accounts corresponding to names of persons identified as "Staff' in the December 2009

forum post by Phara. AFRlKA@NINJAVIDEO.NET, DEADINE@NINJAVIDEO.NET,

PHARA@NINJAVIDEO.NET, and WADSWERTH@NINJAVIDEO.NET.

       25.     The aforementioned facts provide evidence of probable cause to believe that the

information associated with MegaUpload.com that is stored on computers controlled by

Carpathia Hosting contain contraband and/or evidence and/or instrumentalities and/or fruits

related to violations of violations of Title 18, United States Code, Sections 2319, Title 17, United

States Code, Section 506, and Title 18, United States Code, Section 371.

V.     INFORMATION TO BE SEARCH AND THINGS TO BE SEIZED

       26.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.c. §§ 2703(a), 2703(b)(l)(A) and 2703(c)(I)(A), by using the warrant

to require Carpathia to disclose to the government copies of the records and other information

(including the content of communications) particularly described in Section I ofAttachment B.

Upon receipt of the information described in Section I ofAttachment B, government-authorized

persons will review that information to locate the items described in Section II of Attachment B.

VI.    COMPUTER DATA

       27.     Based on my training and experience, and the facts as set forth in this affidavit,

there is probable cause to believe that on the computer systems in the control of Carpathia
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associated with its customer, MegaUpload, there exists evidence of a crime, namely, conspiracy

to commit criminal copyright infringement and the aiding and abetting of criminal copyright

infringement. Accordingly, a search warrant is requested.

        28.    This Court has jurisdiction to issue the requested warrant because it is "a court

with jurisdiction over the offense under investigation." 18 U.S.C. § 2703(a).

        29.    Pursuant to 18 U.S.C. § 2703(g), the presence ofa law enforcement officer is not

required for the service or execution of this warrant.

        30.    Carpathia has indicated that in the event it is not able to locate the content

identified on Attachment A that is stored on its servers on its own, it will work with its customer,

MegaUpload, to access the content to provide in response to the search warrant.

        31.    The aforementioned facts provide evidence of probable cause to believe that the

items described in Attachment B will be found at the PREMISES TO BE SEARCHED described

in Attachment A. The records described in Attachment B constitute not only evidence,

contraband, fruits, and instrumentalities of these offenses, but also constitute "implements,

devices, or equipment used in the distribution of' infringing copies of copyrighted works, and

are thereby subject to criminal forfeiture and destruction or other disposition pursuant to section

17 U.S.C. § 506(b).

IX.    REQUEST FOR SEALING·

       32.     Since the investigation is continuing, the Affiant requests that this search warrant

affidavit be sealed until such time as the Court directs otherwise. Disclosure of the search

warrant affidavit at this time would seriously jeopardize the ongoing investigation, as such

disclosure may provide an opportunity to destroy evidence, change patterns of behavior, notify

confederates, or allow confederates to flee or continue flight from prosecution. Notwithstanding

the above, the government requests that Carpathia and its customer MegaUpload be permitted to
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view the warrant and Attachments A and B to the warrant to assist them in executing the warrant.

The investigation in this matter is continuing and it is anticipated that additional search warrants

may be executed at other locations in the near future.



                                          LYZ' J - - - -___
                                      Special Agent 'l:in)i;i:?'"e:..­
                                      U.S. Immigration & Customs Enforcement


Subscribed and sworn to before me this ;J, yJ.~ay of June, 2010.



HONORABLE XlJt}/U 0, O.4UIS
UNITED STATES MAGISTRATE JUDGE
